      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 1 of 49                    FILED
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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

 BOBBY SINGLETON, et al.,               )
                                        )
       Plaintiffs,                      )
 v.                                     )
 WES ALLEN, in his official             )
                                               Case No.: 2:21-cv-1291-AMM
 capacity as Secretary of State of      )
 Alabama, et al.,                       )
                                        )        THREE-JUDGE COURT
                                        )
      Defendants.                       )


 EVAN MILLIGAN, et al.,                 )
                                        )
       Plaintiffs,                      )
 v.                                     )      Case No.: 2:21-cv-1530-AMM
 WES ALLEN, in his official             )
 capacity as Secretary of State of      )        THREE-JUDGE COURT
 Alabama, et al.,                       )
                                        )
      Defendants.                       )

Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:

   INJUNCTION, ORDER, AND COURT-ORDERED REMEDIAL MAP

      These congressional redistricting cases are before this Court for us to order

the Secretary of State (“the Secretary”) to conduct Alabama’s congressional

elections according to a districting plan that remedies racially discriminatory vote

dilution that we found and the Supreme Court of the United States affirmed in
                                         1
          Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 2 of 49




Alabama’s previous plan. See Allen v. Milligan, 143 S. Ct. 1487, 1498, 1502 (2023).

          These cases allege that Alabama’s previous plan (“the 2021 Plan”) was

racially gerrymandered in violation of the United States Constitution and/or diluted

the votes of Black Alabamians in violation of Section Two of the Voting Rights Act

of 1965, 52 U.S.C. § 10301 (“Section Two”). See Singleton v. Allen, No. 2:21-cv-

1291-AMM (asserting only constitutional challenges); Milligan v. Allen, No. 2:21-

cv-1530-AMM (asserting both constitutional and statutory challenges); Caster v.

Allen, No. 2:21-cv-1536-AMM (asserting only statutory challenges).

          The 2021 Plan included one majority-Black district: District 7, which became

majority-Black in 1992 when a federal court drew it that way in a ruling that was

summarily affirmed by the Supreme Court. Wesch v. Hunt, 785 F. Supp. 1491, 1497–

1500 (S.D. Ala. 1992) (three-judge court), aff’d sub nom. Camp v. Wesch, 504 U.S.

902 (1992), and aff’d sub nom. Figures v. Hunt, 507 U.S. 901 (1993).

          After an extensive seven-day hearing in January 2022, we concluded that the

2021 Plan likely violated Section Two and enjoined the State from using that plan.

See Milligan Doc. 107.1 Based on controlling precedent, we held that “the

appropriate remedy is a congressional redistricting plan that includes either an

additional majority-Black congressional district, or an additional district in which



1
    When we cite a filing that appears in multiple cases, we cite the Milligan filing.
                                                   2
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 3 of 49




Black voters otherwise have an opportunity to elect a representative of their choice.”

Id. at 5. 2 We observed that “[a]s the Legislature consider[ed remedial] plans, it

should be mindful of the practical reality, based on the ample evidence of intensely

racially polarized voting adduced during the preliminary injunction proceedings, that

any remedial plan will need to include two districts in which Black voters either

comprise a voting-age majority or something quite close to it.” Id. at 6. The Secretary

and legislative defendants (“the Legislators”) appealed. Milligan Doc. 108; Allen,

143 S. Ct. at 1502.

        On June 8, 2023, the Supreme Court affirmed the preliminary injunction in

all respects. Allen, 143 S. Ct. at 1502. The Supreme Court “s[aw] no reason to disturb

th[is] Court’s careful factual findings, which are subject to clear error review and

have gone unchallenged by Alabama in any event.” Id. at 1506. Likewise, the

Supreme Court concluded there was no “basis to upset th[is] Court’s legal

conclusions” because we “faithfully applied [Supreme Court] precedents and

correctly determined that, under existing law, [the 2021 Plan] violated” Section Two.

Id.

       On return from the Supreme Court, Milligan came before this three-judge




2
 Page number pincites in this order are to the CM/ECF page number that appears in the top right-
hand corner of each page, if such a page number is available.
                                               3
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 4 of 49




Court, and Caster before Judge Manasco alone, for remedial proceedings. 3 The State

requested that we allow the Legislature approximately five weeks — until July 21,

2023 — to enact a new plan. Milligan Doc. 166.

       All parties understood the urgency of remedial proceedings. The Secretary

previously advised this Court that because of pressing state-law deadlines, he needs

a final congressional map by “early October” for the 2024 election. Milligan Doc.

147 at 3. (In April 2022, mindful that under Alabama law, the last date candidates

may qualify with major political parties to participate in the 2024 primary election

is November 10, 2023, Ala. Code § 17-13-5(a), we directed the State to identify the

latest date by which the Secretary must have a final map to hold the 2024 election,

Milligan Doc. 145. The Secretary advised that he needs the map “by early October”

2023. Milligan Doc. 147 at 3. He later advised that he needs the map “by around

October 1, 2023.” Milligan Doc. 162 at 7.) In the light of that urgency, and to balance

the deference given to the Legislature with the considerations outlined by the

Supreme Court in Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam), we delayed

proceedings, entered a scheduling order, and told the parties to expect a remedial

hearing on the date they proposed: August 14, 2023. Milligan Doc. 168.

       On July 21, 2023, the Legislature enacted and Governor Ivey signed into law


3
 Singleton remains before this three-judge Court, but was not a part of the Section Two remedial
proceedings.
                                               4
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 5 of 49




a new congressional map (“the 2023 Plan”). Milligan Doc. 186. Just like the 2021

Plan, the 2023 Plan includes only one majority-Black district: District 7. Milligan

Doc. 186-1 at 2.

      All Plaintiffs timely objected to the 2023 Plan and requested another

preliminary injunction. See Singleton Doc. 147; Milligan Doc. 200; Caster Doc. 179.

In relevant part, the Milligan and Caster Plaintiffs argued that the 2023 Plan did not

cure the unlawful vote dilution we found because it did not create a second district

in which Black voters have an opportunity to elect a candidate of their choice (an

“opportunity district”). Milligan Doc. 200 at 16–23; Caster Doc. 179 at 8–11. On

August 14, 2023, we conducted a remedial hearing on the Milligan and Caster

Plaintiffs’ Section Two objections to the 2023 Plan. Milligan Doc. 265. On August

15, 2023, we conducted a separate preliminary injunction hearing on the Singleton

Plaintiffs’ constitutional claims. Singleton Doc. 185. We evaluated the objections

with the benefit of an extensive record, which included not only the evidence drawn

from the previous preliminary injunction proceedings, but also new expert reports,

deposition transcripts, and other evidence submitted during the remedial phase. See

Singleton Docs. 147, 162, 165; Milligan Docs. 200, 220, 225; Caster Docs. 179, 191,

195; Aug. 14 Tr. 92–93; Aug. 15 Tr. 24–25. We also had the benefit of the parties’

briefs, three amicus briefs, and a statement of interest filed by the Attorney General

of the United States. Milligan Docs. 199, 234, 236, 260.
                                         5
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 6 of 49




      The State conceded that the 2023 Plan does not include an additional

opportunity district. Indeed, the State asserted that notwithstanding our preliminary

injunction order and the Supreme Court’s affirmance, the Legislature was not

required to include an additional opportunity district in the 2023 Plan. Aug. 14 Tr.

159–64. The State’s conduct and concession put this case in an unusual posture. We

are not aware of any other case in which a state legislature — faced with a federal

court order declaring that its electoral plan unlawfully dilutes minority votes and

requiring a plan that provides an additional opportunity district — responded with a

plan that the state concedes does not provide that district.

      Based on that concession and the evidentiary record, on September 5, 2023,

we issued a second preliminary injunction. Milligan Doc. 272. We enjoined the

Secretary from using the 2023 Plan because it does not remedy the likely Section

Two violation that we found and the Supreme Court affirmed, and in the alternative,

because the Milligan Plaintiffs are substantially likely to establish anew that the 2023

Plan violates Section Two. See generally id.

      Under the Voting Rights Act and binding precedent, the appropriate remedy

for racially discriminatory vote dilution is, as we already said, a congressional

districting plan that includes either an additional majority-Black district, or an

additional district in which Black voters otherwise have an opportunity to elect a

representative of their choice. See, e.g., Bartlett v. Strickland, 556 U.S. 1, 24 (2009)
                                            6
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 7 of 49




(plurality opinion); Cooper v. Harris, 581 U.S. 285, 306 (2017).

       “Redistricting is primarily the duty and responsibility of the State,” Abbott v.

Perez, 138 S. Ct. 2305, 2324 (2018) (internal quotation marks omitted), but this

Court “ha[s] its own duty to cure” districts drawn in violation of federal law, North

Carolina v. Covington, 138 S. Ct. 2548, 2553 (2018). Accordingly, in our second

preliminary injunction we instructed the Special Master, cartographer, and Special

Master’s counsel we previously appointed (“the Special Master Team”) to

commence work on drawing a remedial map. Milligan Doc. 272 at 7. We set a

deadline of September 25, 2023, for the Special Master Team to recommend three

remedial maps, and we issued detailed instructions for their work. See Milligan Doc.

273.

       The Special Master solicited proposed plans and comments from the parties

and the public. See generally In re Redistricting 2023, No. 2:23-mc-01181-AMM

(N.D. Ala.) (“Redistricting”). The Special Master recommended three remedial

plans. Milligan Doc. 295–96. We received objections and held a hearing on October

3, 2023. See Milligan Docs. 301, 302, 303, 304, 305; Caster Doc. 248; Redistricting

Docs. 48, 49.

       For the reasons we explain below, under Federal Rule of Civil Procedure

65(d) the Secretary is ORDERED to administer Alabama’s upcoming congressional

elections using the plan the Special Master recommended called “Remedial Plan 3,”
                                          7
        Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 8 of 49




which is appended to this Order. As we explain, this plan satisfies all constitutional

and statutory requirements while hewing as closely as reasonably possible to the

Alabama Legislature’s 2023 Plan.

        The Court appreciates the thorough and expeditious work of the Special

Master Team. The Court has previously ordered that their fees and expenses will be

paid by the State of Alabama. Milligan Docs. 130 at 7, 273 at 12. The Special Master

Team is INSTRUCTED to file a Fee Statement within 30 days of the date of this

Order. The Fee Statement must set forth expenses incurred (with supporting

documentation), hours worked and work performed, hourly rate, and any additional

information necessary for the Court to assess the reasonableness of the expenses and

fees claimed, for the Special Master, his counsel, and the cartographer. Each

Defendant is ORDERED to respond to the Fee Statement within 14 days of the date

it is filed.

I.      BACKGROUND

        A.     Procedural Posture

        After these cases returned from the Supreme Court, the Secretary and the

Legislators advised us that “the . . . Legislature intend[ed] to enact a new

congressional redistricting plan” and requested that we delay remedial proceedings

until July 21, 2023. Milligan Doc. 166 at 2. We delayed remedial proceedings, and

a special session of the Legislature commenced on July 17, 2023. Milligan Doc. 173-
                                         8
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 9 of 49




1. On July 20, 2023, the Alabama House of Representatives passed a congressional

districting plan titled the “Community of Interest Plan.” Milligan Doc. 251 ¶¶ 16,

22. That same day, the Alabama Senate passed a different plan, the “Opportunity

Plan.” Id. ¶¶ 19, 22. The next day, a bicameral Conference Committee passed the

2023 Plan, which was a modified version of the Opportunity Plan. Id. ¶ 23. Later

that day, the Legislature enacted the 2023 Plan and Governor Ivey signed it into law.

Milligan Doc. 186; Milligan Doc. 251 ¶ 26; Ala. Code § 17-14-70.

      The 2023 Plan, like the 2021 Plan, has only one district that is majority-Black

or Black-opportunity. Compare Milligan Doc. 186-1 at 2, with Milligan Doc. 107 at

2–3. The 2023 Plan includes both a districting plan (which appears below) and

legislative findings. See Ala. Code § 17-14-70.




                                         9
Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 10 of 49




                              10
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 11 of 49




       The legislative findings state that the Legislature “f[ound] and declare[d]” that

its “intent” when it adopted the 2023 Plan was to comply with federal law and

“promote” certain “redistricting principles.” Id.; Milligan Doc. 272 at 199–200. 4 The

legislative findings are appended to our second preliminary injunction. See Milligan

Doc. 272, app. A.

       For present purposes, two provisions of the legislative findings are

particularly relevant. First, the legislative findings provide that the “principle[]” that

“[t]he congressional districting plan shall contain no more than six splits of county

lines” is “non-negotiable.” Id. at 200. Second, the legislative findings identify three

communities of interest that “shall be kept together to the fullest extent possible” —

the Black Belt, the Gulf Coast, and the Wiregrass. Id. at 201.

       The parties previously stipulated that the Black Belt is an area of Alabama

that “is named for the region’s fertile black soil. The region has a substantial Black

population because of the many enslaved people brought there to work in the

antebellum period. All the counties in the Black Belt are majority- or near majority-

BVAP.” Milligan Doc. 53 ¶ 60; see also Allen, 143 S. Ct. at 1505 (defining the Black

Belt similarly: “Named for its fertile soil, the Black Belt contains a high proportion


4
  During remedial proceedings, the Milligan and Caster Plaintiffs developed evidence that the
legislative findings were not the result of the deliberative process and urged us to ignore them. See
Milligan Doc. 272 at 66–70, 98–100, 154, 162–64. For present purposes, we consider the findings
without considering that evidence.
                                                11
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 12 of 49




of black voters, who ‘share a rural geography, concentrated poverty, unequal access

to government services, . . . lack of adequate healthcare,’ and a lineal connection to

‘the many enslaved people brought there to work in the antebellum period.’”). They

further stipulated that the Black Belt includes eighteen “core counties” (Barbour,

Bullock, Butler, Choctaw, Crenshaw, Dallas, Greene, Hale, Lowndes, Macon,

Marengo, Montgomery, Perry, Pickens, Pike, Russell, Sumter, and Wilcox), and that

five other counties (Clarke, Conecuh, Escambia, Monroe, and Washington) are

“sometimes included.” Id. ¶ 61. When the State refers to the “Gulf Coast,” it refers

to Mobile and Baldwin counties. See Milligan Doc. 220-11 at 5. When the State

refers to the “Wiregrass,” it refers to an area in the southeast part of the state that

includes Barbour, Coffee, Covington, Crenshaw, Dale, Geneva, Henry, Houston,

and Pike counties. See id. at 8.

      We enjoined the use of the 2023 Plan on September 5, 2023. Milligan Doc.

272. Later that day, the Secretary — but not the Legislators — appealed our

preliminary injunction order and sought an emergency stay. Milligan Docs. 274,

275, 276. We denied a stay, the Secretary moved the Supreme Court for a stay, and

the Supreme Court summarily denied a stay with no noted dissents. Milligan Doc.

281; Allen v. Milligan, Emergency Application for Stay, No. 23A231 (Sept. 11,




                                          12
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 13 of 49




2023); Allen v. Milligan, Order Denying Stay, No. 23A231 (Sept. 26, 2023). 5 After

that summary denial, the Secretary stipulated the dismissal of his appeal to the

Supreme Court and his appeal of the Caster preliminary injunction to the Eleventh

Circuit. Milligan Doc. 307; Caster Doc. 251.

       B.     Instructions to the Special Master Team

       Also on September 5, 2023, we issued detailed instructions to the Special

Master Team. See Milligan Doc. 273. The Special Master Team is led by the Special

Master, Mr. Richard Allen. See Milligan Doc. 130 at 3–4. Mr. Allen is an “esteemed

public servant with eminent knowledge of Alabama state government.” Id. at 3. Mr.

Allen served as Chief Deputy Attorney General under four Alabama Attorneys

General, served as the Commissioner of the Alabama Department of Corrections,

practiced law for many years in Montgomery, and retired from military service with

the rank of Brigadier General. See id. at 4. The Special Master was assisted by his

counsel, Mr. Michael Scodro and the Mayer Brown LLP law firm; and the Court’s

cartographer, Mr. David Ely. See Milligan Docs. 226 at 5, 264.

       Although all parties had an opportunity to object to these appointments, no

party objected. See id. Pursuant to Federal Rule of Civil Procedure 53(a)(2), Mr.

Allen, Mr. Ely, and Mr. Scodro filed affidavits attesting that they were aware of no


5
 The Secretary also moved the Eleventh Circuit for a stay in Caster. See Allen v. Caster,
Emergency Application for Stay, No. 23-12923 (Sept. 11, 2023)
                                              13
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 14 of 49




grounds for their disqualification under 28 U.S.C. § 455. Milligan Docs. 239, 240,

241.

       In our detailed instructions, we directed the Special Master to file three

proposed plans to remedy the likely Section Two violation we found in the 2023

Plan; to include color maps and demographic data with each map; and to file a Report

and Recommendation with the maps to explain “in some detail the choices made” in

each plan and why each proposed remedial plan remedies the likely vote dilution we

found. See Milligan Doc. 273 at 6. We directed the Special Master to discuss “the

facts and legal analysis supporting the proposed districts’ compliance with the U.S.

Constitution, the Voting Rights Act, traditional redistricting criteria, and the other

criteria” that we listed. See id. at 6–7.

       We directed that each recommended plan must “[c]ompletely remedy the

likely Section 2 violation,” which required each plan to “include[] either an

additional majority-Black congressional district, or an additional district in which

Black voters otherwise have an opportunity to elect a representative of their choice.”

Id. at 7 (second alteration in original). 6



6
  We have explained that when we say “opportunity district,” we mean a district in which a
“meaningful number” of non-Black voters often “join[] a politically cohesive black community to
elect” the Black-preferred candidate. Cooper, 581 U.S. at 303. We distinguish an opportunity
district from a majority-Black district, in which Black people comprise “50 percent or more of the
voting population” in the district. Bartlett, 556 U.S. at 19 (plurality opinion).
                                               14
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 15 of 49




      We further directed that each recommended plan must comply with the U.S.

Constitution and the Voting Rights Act, and must comply “with the one-person, one-

vote principle guaranteed by the Equal Protection Clause of the Fourteenth

Amendment, based on data from the 2020 Census.” Id. at 7.

      We directed that each recommended plan must “[r]espect traditional

redistricting principles to the extent reasonably practicable,” and we observed that

“[o]rdinarily, these principles [i]nclud[e] compactness, contiguity, respect for

political subdivisions or communities defined by actual shared interests,

incumbency protection, and political affiliation.” Id. at 8–9 (quoting Ala. Legislative

Black Caucus v. Alabama, 575 U.S. 254, 272 (2015) (quotation marks and citations

omitted)). But because we are “‘forbidden to take into account the purely political

considerations that might be appropriate for legislative bodies,’” such as

incumbency protection and political affiliation, id. at 9 (quoting Larios v. Cox, 306

F. Supp. 2d 1214, 1218 (N.D. Ga. 2004) (three-judge court)), we limited the Special

Master’s consideration of traditional districting criteria to compactness, contiguity,

respect for political subdivisions, and communities of interest. Id.

      We expressly allowed the Special Master Team to consider “as background,

among other things, the eleven illustrative plans submitted by the Milligan and

Caster Plaintiffs; the remedial maps submitted by the Singleton Plaintiffs . . . ; and

the 2021 Plan and the 2023 Plan, which were both found to likely violate Section 2,”
                                       15
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 16 of 49




as well as the Alabama Legislature’s Reapportionment Committee Redistricting

Guidelines (“the guidelines”) and the legislative findings enacted with the 2023 Plan.

Id. at 10. We also said the Special Master could consider “all the record evidence

received in the first preliminary injunction hearing conducted by this Court in

January 2022, as well as the record evidence received by this Court at the remedial

hearing conducted on August 14, 2023, and the record evidence received by this

Court at the preliminary injunction hearing conducted on August 15, 2023.” Id. We

also allowed the Special Master Team to consider proposals from the general public

and additional submissions by the parties.

      Although we allowed the Special Master Team to engage in ex parte

communications with the Court as the need arose in their work, we disallowed ex

parte communications with the parties or their counsel. Id.

      We authorized the Special Master to issue appropriate orders “as may be

reasonably necessary for him to accomplish his task within the time constraints

imposed by this Order, and the time exigencies surrounding these proceedings.” Id.

And we directed him to “invite submissions and comments from the parties and other

interested persons,” and to hold a hearing and take testimony as he deemed

necessary. Id. at 11. We required the Special Master Team to “maintain orderly files

consisting of all documents submitted to them by the parties and any written orders,

findings, and recommendations” and to preserve all materials and datasets relating
                                      16
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 17 of 49




to their work until we relieve them of that obligation. Id. To facilitate the work of

the Special Master, we ordered the parties to provide him data relating to the

Plaintiffs’ illustrative maps and the 2021 Plan and 2023 Plan, as well as other

relevant data. Id. at 11–12.

      We ordered that all reasonable expenses incurred by the Special Master Team,

as well as their reasonable compensation, would be (subject to our approval) paid by

the State of Alabama. Id. at 12. We instructed the Special Master Team to protect

against unreasonable expenses. Id.

      Finally, we ordered that after the Special Master filed his Recommendation,

“the parties and all interested persons shall have three (3) days” to file objections.

Id. at 13. We told the parties that we reserved October 3, 2023, for a hearing. Id.

      C.     Submissions to the Special Master

      On September 7, 2023, the Special Master set deadlines for parties and

interested non-parties to submit proposed plans or comments. Redistricting Doc. 2.

The Special Master reviewed eleven proposed remedial plans. Redistricting Doc. 44

at 12. The Milligan and Caster Plaintiffs jointly proposed a plan, the Singleton

Plaintiffs proposed a plan, Representative Pringle proposed the Community of

Interest Plan passed by the Alabama House of Representatives, and several non-

parties proposed plans. See id. The Special Master also received six sets of

comments. See id. at 13. And the Special Master had the eleven illustrative maps
                                      17
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 18 of 49




that the Milligan and Caster Plaintiffs submitted in the preliminary injunction

proceedings. Id. at 12.

      During the comment period, Alabama’s lone Black member of Congress,

Terri Sewell, who represents District 7, objected to the Singleton Plaintiffs’ proposed

plan on the ground that it would “eliminate a district in which Black-preferred

candidates are likely to be elected” (District 7). Redistricting Doc. 21 at 3. And the

Caster Plaintiffs filed objections to Representative Pringle’s Community of Interest

proposed plan, the Singleton Plaintiffs’ proposed plan, and other proposed plans.

Redistricting Doc. 23. The Caster Plaintiffs and the Milligan Plaintiffs filed a joint

opposition to the proposed plans filed by non-party Michael Moriarty. Redistricting

Doc. 35.

      The Special Master observed that the proposals and comments were

“necessarily done on an expedited basis but were nonetheless of extremely high

quality and were clearly the product of extensive work and thoughtful analysis.” Id.

at 13. The Special Master “reviewed and carefully considered” each submission. Id.

      D.     The Special Master’s Recommendation

      The Special Master filed a 43-page Report and Recommendation on

September 25, 2023. See Milligan Doc. 295. The Special Master explained in his

Recommendation that he limited his analysis exactly as we directed. See id. at 13–

15. The Special Master ensured that each recommended plan (1) complies with the
                                       18
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 19 of 49




primary criteria set out in our instructions (i.e., it completely remedies the likely

Section Two violation, complies with one-person, one-vote requirements, and

otherwise complies with the Constitution and the Voting Rights Act), and (2)

respects traditional districting criteria (“compactness, contiguity, respect for

political subdivisions, and maintenance of communities of interest”). Id. at 13. The

Special Master (3) carefully minimized changes to the 2023 Plan by “preserv[ing]

boundaries from the 2023 Plan except where modifications are needed to remedy the

Section Two violation,” id. at 27, and “maintaining most district boundaries and

retaining the vast majority of people within the same districts they were in under the

2023 Plan,” id. at 14. And (4) the Special Master did not “‘target’ any particular

Black population percentage in any district,” but instead “prioritized following

county, voting district (precinct), and municipal boundaries.” Id. “After preparing

each draft plan, Mr. Ely performed an election analysis . . . to determine how

frequently the Black-preferred candidate would have won past election contests in

each district.” Id. at 15.

       The Special Master left Districts 3, 4, and 5 entirely unchanged from the 2023

Plan in each recommended plan. Id. at 27. Districts 6 and 7 are modified only

minimally as explained below. Id. The Special Master recommended plans with a

population deviation of only one person, and his plans “have only contiguous

districts.” Id. at 35, 39. The Special Master confirmed that his recommended plans
                                          19
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 20 of 49




are not racial gerrymanders or intentionally discriminatory in violation of the Equal

Protection Clause and the Fifteenth Amendment. See id. at 36. Notably, Mr. Ely “did

not display racial demographic data while drawing districts or examining others’

proposed remedial plans within the mapping software, Maptitude. Instead, Mr. Ely

relied on other characteristics and criteria” related to communities of interest and

political subdivisions. Id.

      For each recommended plan, the Special Master provided core retention

metrics, a performance analysis, compactness scores, and information about respect

for political subdivisions and communities of interest. See id. at 27–28 tbl.2; id. at

32 tbl.4; id. at 38 tbl.6; id. at 41–43. We discuss in turn each category of information.

      The Special Master provided core retention metrics to indicate (1) the

percentage of the population of each district in the 2023 Plan that was retained in

that district in each recommended plan, and (2) that statistic on a statewide basis. Id.

at 27–28 tbl.2. The recommended plans retain between 86.9% and 88.9% of

Alabama’s population in the same districts they were in under the 2023 Plan. See id.

      The Special Master explained that a “performance analysis assesses whether,

using recent election results, a candidate preferred by a particular group would be

elected from a proposed opportunity district.” Id. at 30. The Special Master reasoned

that for a proposed remedial district to perform as an opportunity district, a

performance analysis “should demonstrate that the Black-preferred candidate often
                                      20
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 21 of 49




would win an election in the subject district.” Id.

      As the Special Master explained, the parties “used a variety of different

elections for their performance analyses of the 2023 Plan.” Id. The Milligan

Plaintiffs’ expert, Dr. Baodong Liu, considered eleven biracial statewide elections

between 2014 and 2022. See id. The Caster Plaintiffs’ expert, Dr. Maxwell Palmer,

considered seventeen contested statewide elections between 2016 and 2022. See id.

The Legislature considered seven statewide elections. See id. Mr. Ely prepared a

performance analysis by using election data provided by the Legislature (prepared

by their expert, Dr. M.V. Hood) for twelve election contests, and election data

provided by the Milligan Plaintiffs (prepared by their expert, Dr. Liu) for twelve

election contests. See id. at 31. Seven of these contests overlap, so Mr. Ely

considered seventeen distinct contests. See id. From this data, the Special Master

determined that each of his recommended plans includes two opportunity districts,

Districts 2 and 7. Id.

      The Special Master provided four compactness scores for each recommended

plan, including the metrics we previously considered (Polsby-Popper, Reock, and

Cut-Edges scores). See id. at 38 tbl.6. The Special Master also considered the

Population Polygon metric, which is a “statistical measure that examines the shape

of a district and the location of where people live in and around the district.” Id. at

37. The Special Master concluded that all his recommended plans are “reasonably
                                       21
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 22 of 49




compact.” Id. at 38.

      The Special Master provided data to establish that his plans respect political

subdivisions, including information about county splits, municipality splits, and

precinct splits. Id. at 39–41. The Special Master explained that when he was required

to shift residents from District 6 to District 7 to equalize population, the boundaries

of the City of Birmingham guided his decisions. Id. at 40. Likewise, he relied on the

boundaries of the City of Mobile to determine where to split Mobile County. Id.

      Finally, the Special Master explained how his plans respect communities of

interest. See id. at 41–43. The Special Master focused on the three communities the

Legislature identified: the Black Belt, the Gulf Coast, and the Wiregrass. See id. The

Special Master preserved unsplit every core Black Belt county in his plans, and his

plans situate every core Black Belt county in one of two districts. See id. at 42.

             1.     Remedial Plan 1

      Remedial Plan 1 is a “modest variation” of a plan that the Milligan and Caster

Plaintiffs proposed to the Legislature before the 2023 Plan was enacted (“the VRA

Plan”). Id. at 15. The VRA Plan was based on one of the illustrative plans prepared

by Mr. Cooper in 2021, “Cooper Plan 2.” Id. The VRA Plan modified Cooper Plan

2 to “keep all 18 core Black Belt counties intact and within Districts 2 and 7 and to

enhance population overlap with the 2021 Plan.” Id. at 15–16. The Special Master

modified the VRA Plan because it was designed as an alternative to the 2021 Plan,
                                      22
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 23 of 49




and the Special Master worked off the 2023 Plan. Id. at 16.

      Remedial Plan 1 makes no changes from the 2023 Plan to Districts 3, 4, and

5, and “only minimal changes” to Districts 6 and 7. Id. The Special Master explained

that minimal changes were necessary because Districts 6 and 7 sit in the middle of

the state, adjacent to District 2. Id. at 17–21. Remedial Plan 1 splits seven counties

and retains 88.9% of Alabamians in their district under the 2023 Plan. Id. at 28.

             2.    Remedial Plan 2

      Like Remedial Plan 1, Remedial Plan 2 is a modified version of Cooper Plan

2 and makes no changes from the 2023 Plan to Districts 3, 4, and 5, and only minimal

changes to Districts 6 and 7. See id. at 22–23. Remedial Plan 2 splits only six

counties. Id. The Special Master explained that this was in service to the six-split

cap in the legislative findings and respected the Black Belt and the Wiregrass. See

id. (explaining that in Remedial Plan 2, all of the Wiregrass counties that are not in

the Black Belt are entirely in District 1, and reflecting that all eighteen core Black

Belt counties are in two districts, either District 2 or District 7). Remedial Plan 2

includes 71.9% of the population of the City of Mobile in a single district, and it

retains 87.5% of Alabamians in their district under the 2023 Plan. Id. at 22, 28.

             3.    Remedial Plan 3

      “Mr. Ely prepared Remedial Plan 3 without reference to any other illustrative”

or proposed plan. Id. at 23. To prepare Remedial Plan 3, Mr. Ely left Districts 3, 4,
                                         23
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 24 of 49




and 5 unchanged from the 2023 Plan; preserved all eighteen core counties in the

Black Belt within Districts 2 and 7 without splitting any of those counties; and

minimized changes to Districts 6 and 7. Id. at 23–24. Remedial Plan 3 splits only six

counties. Id. Although Remedial Plan 2 placed Henry County (part of the Wiregrass)

in District 2, Remedial Plan 3 placed it with the majority of the Wiregrass counties

(Houston, Dale, Coffee, Geneva, and Covington) in District 1. Id. at 24.

      In Remedial Plan 3, Mr. Ely sought to “better preserve the cities of Mobile

and Birmingham within single districts and to follow municipal boundaries where

possible. He also sought to minimize splitting voting districts (precincts) except

where needed to equalize population.” Id. Remedial Plan 3 preserves 93.3% of the

City of Birmingham in a single district and 90.4% of the City of Mobile in a single

district. Id. tbl.1. Neither of the Special Master’s other plans preserve more than 72%

of the City of Mobile in a single district. See id. And neither of the Special Master’s

other plans preserve more than 89.6% of the City of Birmingham in a single district.

See id. “Mr. Ely accessed median income data from the U.S. Census Bureau’s

American Community Survey, which is relevant to the social and economic factors

identified in the Legislature’s guidelines and findings, to confirm an appropriate

bifurcation of Mobile County outside the city of Mobile.” Id. Remedial Plan 3 retains

86.9% of Alabamians in their district under the 2023 Plan. Id. at 28.


                                          24
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 25 of 49




            4.     Proposed Plans that the Special Master Did Not Recommend

      The Special Master explained why he rejected the other proposed plans. See

id. at 28–29. The critical reason common to all rejected plans is that they proposed

significant changes “beyond the minimum” changes to the 2023 Plan “needed to

remedy the Section Two violation.” Id. at 29.

      Eight of the eleven proposals the Special Master rejected would have changed

every district in the state when compared to the 2023 Plan: the VRA Plan submitted

by the Milligan and Caster Plaintiffs, the Singleton Plaintiffs’ Plan, the Community

of Interest Plan proposed by Representative Pringle, the plans proposed by non-

parties the Alabama Democratic Conference, Quin Hillyer, and Michael Moriarty,

and one of the plans proposed by non-party Professor Bernard Grofman. See id. tbl.3.

      Two of the remaining three proposals would have changed nearly every

district in the state: both plans proposed by non-parties Zac McCrary and Stephen

Wolf redrew six of Alabama’s seven districts. See id.

      In contrast, the three plans the Special Master recommended, and one of the

Grofman Plans, changed only four congressional districts from the 2023 Plan. See

id.

      E.    Objections

      The Secretary objected to the Special Master’s Remedial Plans as

“unconstitutional racial gerrymanders that harm Alabama voters by subjecting them
                                        25
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 26 of 49




to racial classifications.” Milligan Doc. 301 at 2. The Secretary asserted that even if

Mr. Ely performed his work “race blind,” his “starting point was a plan where race

predominates over traditional criteria, and the changes were too modest to undo the

race-based decisions.” Id. The Secretary further objected that Section Two does not

require a remedial plan to “sacrifice compactness, county integrity, communities of

interest, or other traditional criteria.” Id. at 3.

       The Secretary asserted that Remedial Plan 1 was the “most objectionable” of

the Special Master’s plans “because of its unnecessary split of Houston County.” Id.

The Secretary asserted that Remedial Plan 2 splits the Wiregrass “more than

necessary to remedy the likely § 2 violation” by including Henry County in District

2 rather than District 1. Id. at 5. The Secretary “note[d]” that Remedial Plan 3 would

make it “more difficult for election officials in Mobile County to reassign voters

accurately by the applicable deadlines.” Id. Notably, however, the Secretary did not

argue that it would be too difficult to fully implement any of the three Remedial

Plans in advance of the 2024 congressional election deadlines, or otherwise raise any

Purcell argument. See generally id.

       The Legislators’ objections tracked the Secretary’s. Compare Milligan Doc.

302, with Milligan Doc. 301.

       The Milligan Plaintiffs urge us to adopt either the Special Master’s Remedial

Plan 1 or Remedial Plan 3, and they “oppose” Remedial Plan 2 on the ground that it
                                       26
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 27 of 49




will not “with certitude completely remedy the Section 2 violation.” Milligan Doc.

304 at 4 n.2, 5, 6 (quoting Dillard v. Crenshaw County, 831 F.2d 246, 252 (11th Cir.

1987)). The Milligan Plaintiffs base their opposition to Remedial Plan 2 on a view

of Mr. Ely’s performance analysis restricted to the 2022 elections, in which that

analysis predicts that the Black-preferred candidate would have lost four out of five

contests analyzed in District 2. See id. at 6.

      The Caster Plaintiffs made the same points that the Milligan Plaintiffs made,

but they did not formally object in writing to the Special Master’s Remedial Plan 2.

See Caster Doc. 248. The Caster Plaintiffs asserted that the 2022 elections in Mr.

Ely’s performance analysis “cast[] significant doubt on whether Remedial Plan’s

CD-2 would provide a meaningful opportunity district for Black voters in future

elections.” Id. at 4. “By contrast,” the Caster Plaintiffs observed, in Mr. Ely’s

analysis District 2 in Remedial Plans 1 and 3 “performed for Black-preferred

candidates in 2022 elections 60% or 80% of the time.” Id. Because “Remedial Plan

2 serves no interest not already captured in the [Special Master’s] other proposals,”

the Caster Plaintiffs urged us to adopt Remedial Plan 1 or 3. Id.

      The Singleton Plaintiffs did not object to any of the three Remedial Plans

either. Redistricting Doc. 49 at 1. Among the plans recommended by the Special

Master, the Singleton Plaintiffs state that Remedial Plan 3 is best. Id. Not only does

that Plan “perform[] as well or better than Remedial Plans 1 and 2 on every criterion
                                          27
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 28 of 49




the Court has laid out,” id., the Singleton Plaintiffs point out that Remedial Plan 3

“goes [the] farthest” in “work[ing] to reduce the gerrymander of Birmingham” they

contend was present in the 2023 Plan by keeping the largest portion of Birmingham

in one congressional district, id. at 4. The Singleton Plaintiffs also favor Remedial

Plan 3 for its similar respect for the City of Mobile. Id. at 5.

      Several non-parties filed objections to the Special Master’s Remedial Plans.

The Alabama Democratic Conference (“ADC”) asserted that “none of [the Special

Master’s plans] provides a complete remedy to the likely Section 2 violation” and

that the Court should adopt the plan the ADC proposed because in that plan, “White

voters wouldn’t have veto power” over Black voters’ choices in District 2. Milligan

Doc. 305 at 1, 8. The ADC did not supply a performance analysis to contravene the

analysis Mr. Ely performed. See id. Quin Hillyer objected to the Special Master’s

Plans on the ground that they “split[] Mobile County.” Redistricting Doc. 48 at 1.

      We directed the Special Master to file a written response to the question

whether his Remedial Plan 2 “provides an opportunity for Black voters in CD2 to

elect their preferred candidate.” See Redistricting Docs. 55, 56. The Special Master’s

response explained in detail why District 2 in Remedial Plan 2 performs as an

opportunity district. See Redistricting Doc. 56. More particularly, the Special Master

set forth data and analysis to demonstrate that the average margin of victory for a

Black-preferred candidate in District 2 was 8.2% in Remedial Plan 2, but 10.3% in
                                         28
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 29 of 49




Remedial Plans 1 and 3, and that those two percentage points “would have changed

the outcome of several 2022 elections in District 2 in Remedial Plan 2, but not in

Remedial Plans 1 and 3” because “[a] less competitive slate of Democratic nominees

for statewide office in 2022, who were dramatically underfunded, contributed to

depressed voter turnout, particularly among Democrats” in the 2022 elections. Id. at

4, 8, 9.

       F.    Our Hearing

       On October 3, 2023, we heard the objections raised to the Special Master’s

recommendations. All parties and interested non-parties had an opportunity to be

heard, and we received argument from the Milligan Plaintiffs, the Caster Plaintiffs,

the Singleton Plaintiffs, the Secretary of State, the Legislators, the Alabama

Democratic Conference, and Mr. Hillyer.

       Ultimately, a consensus among the Plaintiffs developed around Remedial Plan

3 recommended by the Special Master. Oct. 3, 2023. Tr. 54. Remedial Plan 1 splits

seven counties instead of six, and the Milligan and Caster Plaintiffs object to

Remedial Plan 2 out of a concern that it may not perform as an opportunity district

so as to completely remedy the vote dilution we found. See, e.g., Oct. 3, 2023 Tr.

19, 22 (Caster Plaintiffs’ formal oral objection). Notably, the Singleton Plaintiffs did

not object to Remedial Plan 3 as a racial gerrymander, they urged us that Remedial

Plan 3 “keeps counties together” better than Remedial Plan 1, and they pointed out
                                         29
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 30 of 49




that Remedial Plan 3 “does a much better job [than Remedial Plan 1] at preserving

two of the State’s largest municipalities – Birmingham and Mobile.” Oct. 3, 2023

Tr. 33–34.

      The Caster Plaintiffs suggested that Remedial Plan 1 “has the benefit of

having been vetted by the Court in the course of this litigation” because it is a variant

of one of the illustrative maps the Caster Plaintiffs submitted in the first preliminary

injunction proceedings, Cooper Plan 2. Oct. 3, 2023 Tr. 20–21. But on questioning

about the substantial similarities between Remedial Plans 1 and 3, counsel for the

Caster Plaintiffs agreed that Remedial Plans 1 and 3 are sufficiently similar that it is

not “accurate to say that as between [Remedial Plan] 1 and [Remedial Plan] 3, only

[Remedial Plan] 1 has the benefit of all of that vetting.” Oct. 3, 2023 Tr. 21.

      The Secretary and the Legislators object to all the Special Master’s

recommended plans as racial gerrymanders, but they do not raise any specific

objection to Remedial Plan 3. Oct. 3, 2023 Tr. 40–41. At the hearing, although the

Secretary argued that Remedial Plan 3 is less compact than the 2023 Plan, by his

own admission the Secretary did not develop any evidence that the mathematical

compactness scores of Remedial Plan 3 suggest that it is not reasonably compact.

Oct. 3, 2023 Tr. 37–39.

      The Alabama Democratic Conference assailed the Special Master’s work as

“back-of-the-napkin” analysis, but could not identify a single legal precedent that
                                       30
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 31 of 49




suggested that the Special Master failed to consider information that he should have

considered or precedent that enabled this Court to “disregard the Special Master’s

analysis.” Oct. 3, 2023 Tr. 44–46. Mr. Hillyer urged us to consider a possibility that

District 2 in Remedial Plan 2 might not be contiguous because it includes a bridge

across Mobile Bay, but he could not identify any controlling precedent that suggests

that a bridge could present a contiguity problem. 7 Oct. 3, 2023 Tr. 49–51. In any

event, each set of Plaintiffs, the Secretary, and the Legislators confirmed that they

do not have any contiguity objections. Oct. 3, 2023 Tr. 52–54.

II.    STANDARD OF REVIEW

       Controlling Supreme Court precedent dictates rules that we must follow in

ordering a remedial districting plan. We do not have the authority to simply select

the plan that outperforms all other proposed plans on any particular metric and order

the Secretary to use that plan. We must give the Alabama Legislature as much

deference as possible, and we may not disturb the policy choices it made in the 2023

Plan any more than is necessary to remedy the likely Section Two violation we

found. See, e.g., Upham v. Seamon, 456 U.S. 37, 43 (1982) (per curiam); Whitcomb

v. Chavis, 403 U.S. 124, 160 (1971).

       This is a robust rule. A district court errs “when, in choosing between two


7
 In his submission before the Court, Mr. Hillyer argued that this bridge destroyed contiguity for
District 2 in Remedial Plan 1.
                                               31
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 32 of 49




possible court-ordered plans, it failed to choose that plan which most closely

approximated the state-proposed plan.” Upham, 456 U.S. at 42. Put differently,

“[t]he only limits on judicial deference to state apportionment policy . . . [a]re the

substantive constitutional and statutory standards to which such state plans are

subject.” Id. (emphasis added). So we must select the plan that “most clearly

approximated the reapportionment of the state legislature,” while also satisfying

federal constitutional and statutory requirements. White v. Weiser, 412 U.S. 783, 798

(1973).

      This rule is consistent with the judiciary’s limited role. “From the beginning,

[the Supreme Court] ha[s] recognized that ‘reapportionment is primarily a matter for

legislative consideration and determination, and that judicial relief becomes

appropriate only when a legislature fails to reapportion according to federal

constitutional requisites in a timely fashion after having had an adequate opportunity

to do so.’” White, 412 U.S. at 794–95 (quoting Reynolds v. Sims, 377 U.S. 533, 586

(1964)). Indeed, the Supreme Court “has repeatedly held that redistricting and

reapportioning legislative bodies is a legislative task which the federal courts should

make every effort not to pre-empt.” Wise v. Lipscomb, 437 U.S. 535, 539 (1978)

(opinion of White, J.).

      We have repeatedly explained that we understand our limited role. See

Milligan Docs. 272 at 7, 168 at 2, 130 at 9. We reiterate our understanding that the
                                        32
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 33 of 49




Court acts within the bounds of its authority only “if [our] modifications of a state

plan are limited to those necessary to cure any constitutional or statutory defect.”

Upham, 456 U.S. at 43. We must not “pre-empt the legislative task nor ‘intrude upon

state policy any more than necessary.’” White, 412 U.S. at 795 (quoting Whitcomb

v. Chavis, 403 U.S. 124, 160 (1971)).

      And we reiterate that we regard this task — “to devise and impose a

reapportionment plan” for Alabama to conduct its upcoming congressional elections

without the taint of racially discriminatory vote dilution — as an “unwelcome

obligation.” Wise, 437 U.S. at 540; Milligan Doc. 107 at 52. We held, and the

Supreme Court agreed, that the required remedy is the creation of a second district

where Black Alabamians, like everyone else, have a fair and reasonable opportunity

to elect their preferred candidates. It did not have to be this way. And it would not

have been this way if the Legislature had created a second opportunity district or

majority-minority district. They did not do so in 2021, and as the State conceded at

the remedial hearing, they failed again to do so in 2023.

      Notably, “[i]n discharging this duty, [we] will be held to stricter standards”

than would have applied to the Legislature had it enacted a lawful remedial map.

Wise, 437 U.S. at 540 (internal quotation marks omitted). Although the Legislature

had the discretion to redraw every district in the state when it enacted the 2023 Plan,

we do not have the discretion to redraw every district now. We limit our changes to
                                        33
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 34 of 49




districts that were challenged and found unlawful, and to those changes to adjacent

districts that are necessary to satisfy applicable constitutional and statutory

requirements. See, e.g., Covington, 138 S. Ct. at 2554.

       Additionally, although the Legislature had the discretion to consider various

political factors when it enacted the 2023 Plan (for example, such as whether any

redrawn district paired incumbents), we may not consider such factors now. See,

e.g., Larios v. Cox, 306 F. Supp. 2d 1214, 1218 (N.D. Ga. 2004) (per curiam) (three-

judge court) (explaining that “in the process of adopting reapportionment plans, the

courts are forbidden to take into account the purely political considerations that

might be appropriate for legislative bodies,” and that “many factors, such as the

protection of incumbents, that are appropriate in the legislative development of an

apportionment plan have no place in a plan formulated by the courts”) (quoting

Wyche v. Madison Parish Police Jury, 635 F.2d 1151, 1160 (5th Cir. Unit A Feb.

1981), 8 and Wyche v. Madison Parish Police Jury, 769 F.2d 265, 268 (5th Cir. 1985)

(per curiam)) (internal quotation marks omitted).

       Finally, we underscore that Section Two of the Voting Right Act ensures only

equal opportunity, not a guaranteed result for any group. See United States v. Dall.



8
  In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh
Circuit adopted as binding precedent all decisions of the former Fifth Circuit handed down prior
to October 1, 1981.
                                              34
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 35 of 49




Cnty. Comm’n, 850 F.2d 1433, 1438 n.6 (11th Cir. 1998). As we have previously

explained, Section Two does not provide a leg up for Black voters — it merely

prevents them from being kept down with regard to what is arguably the most

“fundamental political right,” in that it is “preservative of all rights” — the right to

vote. See Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1315 (11th Cir.

2019).

      “[A] preliminary injunction is an extraordinary remedy never awarded as of

right.” Benisek v. Lamone, 138 S. Ct. 1942, 1943 (2018) (per curiam) (internal

quotation marks omitted). “A party seeking a preliminary injunction must establish

that (1) it has a substantial likelihood of success on the merits; (2) irreparable injury

will be suffered unless the injunction issues; (3) the threatened injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing party;

and (4) if issued, the injunction would not be adverse to the public interest.” Vital

Pharms., Inc. v. Alfieri, 23 F.4th 1282, 1290–91 (11th Cir. 2022) (internal quotation

marks and citation omitted). Ordinarily, a preliminary injunction is “prohibitory and

generally seeks only to maintain the status quo pending a trial on the merits.” Tom

Doherty Assocs. v. Saban Ent. Inc., 60 F.3d 27, 34 (2d Cir. 1995).

      When a party seeks an injunction that “goes beyond the status quo and seeks

to force one party to act, it becomes a mandatory or affirmative injunction and the

burden placed on the moving party is increased.” Mercedes-Benz U.S. Int’l, Inc. v.
                                       35
       Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 36 of 49




Cobasys, LLC, 605 F. Supp. 2d 1189, 1196 (N.D. Ala. 2009) (citing Exhibitors

Poster Exch., Inc. v. Nat’l Screen Service Corp., 441 F.2d 560, 561 (5th Cir. 1971)).

An affirmative injunction “should not be granted except in rare instances in which

the facts and law are clearly in favor of the moving party.” Exhibitors Poster Exch.,

Inc., 441 F.2d at 561 (per curiam) (quoting Miami Beach Fed. Sav. & Loan Ass’n.

v. Callander, 256 F.2d 410, 415 (5th Cir. 1958) and collecting cases).

III.   ANALYSIS

       We have carefully reviewed each proposed plan, all comments submitted to

the Special Master, the Special Master’s Report and Recommendation (and all

supporting documents), and each objection raised or comment filed to that

Recommendation. We also heard from the parties and other interested persons at the

hearing we held on October 3, 2023. Like the Special Master Team, we find that

although the proposals and comments were necessarily prepared on an expedited

basis, they are clearly the product of thoughtful analysis by the parties and interested

members of the public. We do not discuss all of them in detail in this Order, but we

found all of them helpful.

       A.    Remedial Plan 3 Completely Remedies the Vote Dilution We Found
             While Best Preserving the State’s Legislative Preferences
             Expressed Through the 2023 Plan.

       We begin by limiting our analysis to the proposed plans that do not exceed

our authority. See Covington, 138 S. Ct. at 2554. Districts 3, 4, and 5 are not
                                          36
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 37 of 49




challenged in this litigation, and it is not necessary to redraw the boundaries the 2023

Plan assigned to them to remedy the vote dilution we found. So we will not redraw

those districts at all. This eliminates all proposals other than the Special Master’s

plans and the Grofman 2023 Plan. See Milligan Doc. 295 at 29 tbl.3.

      We next limit our analysis to the proposed plans that satisfy the Legislature’s

limit of six county splits. We do not find that we are required to defer to that cap,

but we can completely remedy the vote dilution we found without exceeding it, see

infra, so we will not exceed it. This eliminates one of the Special Master’s plans as

well: Remedial Plan 1, which splits seven counties.

      Three plans remain: Remedial Plans 2 and 3 recommended by the Special

Master, and the Grofman 2023 Plan. We next consider the extent to which those

plans respect political subdivisions other than counties. The 2023 Plan split eleven

voting districts (out of a total of 1,837), Remedial Plan 2 splits thirteen voting

districts, and Remedial Plan 3 splits fourteen voting districts. Id. at 41. The Grofman

2023 Plan splits thirty-eight voting districts, well more than double the number split

by either Remedial Plan 2 or 3. Id. Accordingly, the Grofman 2023 Plan splits

substantially more voting districts than is necessary to remedy the vote dilution we

found. Further, the Grofman 2023 Plan is very similar to Remedial Plan 2, which we

do not adopt for the reasons explained below. See infra. And the Grofman 2023 Plan

has not been subjected to the same rigorous examination, performance analysis, and
                                         37
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 38 of 49




opportunity for written and oral objection as Remedial Plans 2 and 3. Accordingly,

we do not adopt that plan.

      The two remaining proposals — Remedial Plan 2 and Remedial Plan 3 — are

quite similar. Districts 3, 4, 5, 6, and 7 are identical or very nearly identical in both

plans. Compare Milligan Doc. 295 at 23, with id. at 25. They both retain 100% of

Districts 3, 4, and 5 from the 2023 Plan, and both retain 94.1% of District 6 and

92.7% of District 7. See id. at 29 tbl.2. Districts 1 and 2 differ based on how they

treat Henry County and where they split Mobile County.

       Remedial Plan 3 better respects municipal boundaries and the communities of

interest that the Legislature identified. Both plans keep the eighteen “core” Black

Belt counties together in two districts, with eight counties placed in District 2 and

ten counties placed in District 7. Id. at 40–42. Both plans also split the Gulf Coast,

in line with our finding that such a split is necessary to remedy the likely dilution of

Black voting power that we have found, see Milligan Doc. 272 at 166, but Remedial

Plan 3 keeps 90.4% of the City of Mobile in a single district, whereas Remedial Plan

2 keeps only 71.9% of that city in a single district. Milligan Doc. 295 at 24 tbl.1.

Remedial Plan 3 also keeps 93.3% of the City of Birmingham in a single district,

whereas Remedial Plan 2 keeps only 89.6%. Id. And more broadly, Remedial Plan

3 splits only thirty-one municipalities (out of a total of 462), whereas Remedial Plan

2 splits thirty-four. Id. at 41. Further, although the State has introduced precious little
                                              38
         Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 39 of 49




evidence to establish the existence of the Wiregrass community of interest, to the

extent the Legislature has expressed a preference to keep the Wiregrass counties

together in District 1, Remedial Plan 3 keeps six such counties together by including

Henry County with the other Wiregrass counties in District 1. Id. at 24. Remedial

Plan 2, in contrast, keeps only five of the Wiregrass counties together, instead joining

Henry County with the Black Belt in District 2.

          Accordingly, we find that of all the proposed remedial plans before us,

Remedial Plan 3 “most closely approximate[s]” the plan that the Legislature enacted

and we enjoined. See Upham, 456 U.S. at 42.

          Although the Secretary’s only “relevant duties are to administer elections,”

Singleton Doc. 25 at 5; Caster Doc. 60 at 5, counsel for the Secretary asserts that the

Special Master’s recommended plans are an “absurd disfigurement” of the 2023 Plan

that “cast aside” Alabama’s “communities, local economies, and basic geography .

. . in the radical pursuit of racial quotas,” 9 “court-ordered racial gerrymander[s]”, 10

and in service of “separate but equal” congressional districts. 11 The Legislators did

not join these statements, and the evidence we have just described plainly refutes


9
  Attorney General Marshall Issues Statement on Redistricting to the People of Alabama (Sept. 26,
2023), https://www.alabamaag.gov/attorney-general-marshall-issues-statement-on-redistricting-
to-the-people-of-alabama/ (Sept. 26, 2023) [hereinafter “Attorney General’s Statement”].
10
     Allen v. Milligan, Emergency Application for Stay, No. 23A231 (Sept. 11, 2023).
11
     See Attorney General Marshall’s Statement, supra n.9.
                                                39
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 40 of 49




them. There can be no genuine argument that meaningfully changing only two

districts out of seven, and perfectly tracking county boundaries in nineteen of the

twenty-one counties in those two districts, is a “disfigurement.” Likewise, there can

be no earnest argument that departing from the 2023 Plan in this way to remedy

racially discriminatory vote dilution — while leaving 86.9% of Alabamians in

precisely the same district they were in under the 2023 Plan — remotely approaches

the abhorrent practice of racially segregating public schools for children.

      We well understand the legitimate concern about the role that considerations

of race have in redistricting, but as we have found and the Supreme Court has

affirmed, the record simply does not bear out that concern in this case. Allen, 143 S.

Ct. at 1517. Nor can one fairly assert that the Special Master conducted his work in

a way that runs afoul of the Equal Protection Clause.

      Remedial Plan 3 also performs better than Remedial Plan 2 on the various

compactness metrics to which the parties and nonparties have directed our attention.

Remedial Plans 2 and 3 tie on the Reock Score (0.35) and the Polsby-Popper score

(0.24), but Remedial Plan 3 has the better Cut Edges score (3,597) and Population

Polygon score (0.69). Milligan Doc. 295 at 36. Based on these metrics, the Special

Master’s opinion, and our own “eyeball test,” we conclude that Remedial Plan 3 is

reasonably compact. See id. at 37–38; see also Allen, 143 S. Ct. at 1517–18

(Kavanaugh, J., concurring). We see no “tentacles, appendages, bizarre shapes, or
                                      40
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 41 of 49




other obvious irregularities,” Allen, 143 S. Ct. at 1504, and the boundaries of District

2 track county lines perfectly except insofar as they split Clarke and Mobile Counties

to satisfy other requirements of federal law, see Milligan Doc. 295 at 25.

      Separately, we find that Remedial Plan 3 completely remedies the vote

dilution we found. Compared to the 2023 Plan, Remedial Plan 3 contains an

additional district (District 2) in which Black voters have an opportunity to elect a

candidate of their choice. In that District, the Black-preferred candidate would have

won sixteen of the seventeen elections that Mr. Ely analyzed to evaluate the

performance of District 2 as an opportunity district. See id. at 32 tbl.4. Mr. Ely’s

performance analysis underscores what we have explained and the Supreme Court

has found: that voting in Alabama is extremely racially polarized. See Milligan Doc.

295 at 32 & tbl.4 (predicting that in all districts other than Districts 2 and 7, the

Black-preferred candidate will never win a single election, and that every loss is by

more than 29%). We also note that District 2 in Remedial Plan 3 is not majority-

Black; the Black voting-age population is 48.7%. Id. at 34 tbl.5. District 7 in

Remedial Plan 3 remains majority-Black, with a Black voting-age population of

51.9%. Id.

      Finally, we find that Remedial Plan 3 complies with the one-person, one-vote

requirement of the Fourteenth Amendment. The “rounded ideal” of voting-age

population per district in Alabama is 717,754. Milligan Doc. 68-5 at 8. Remedial
                                        41
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 42 of 49




Plan 3 (like the other remedial plans recommended by the Special Master), contains

a population deviation of one person. Milligan Doc. 295 at 34. Because no proposed

remedial plan contained a lower deviation while also remedying the likely Section

Two violation, we find that a deviation of one person is mathematically necessary

and, therefore, that Remedial Plan 3 satisfies one-person, one-vote. See id.

      Accordingly, we find that Remedial Plan 3 completely remedies the vote

dilution we found and satisfies all applicable federal constitutional and statutory

requirements while most closely approximating the policy choices the Alabama

Legislature made in the 2023 Plan. Put differently, we find that Remedial Plan 3

limits our modifications of the 2023 Plan only to those necessary to cure the statutory

defect that we identified, and that Remedial Plan 3 does not intrude on Alabama

policy any more than is necessary to bring the 2023 Plan into compliance with

Section Two of the Voting Rights Act.

      B.     None of the Objections to the Special Master’s Report and
             Recommendation Alter this Conclusion.

      Remedial Plan 3 enjoyed broad support among those who filed responses to

the Special Master’s Report & Recommendation. The Milligan, Caster, and

Singleton Plaintiffs all support the adoption of Remedial Plan 3, and the Secretary

and the Legislators have indicated that it is less objectionable than Remedial Plan 1.

      Some non-parties have objected to Remedial Plan 3, but we do not find their

                                          42
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 43 of 49




objections persuasive. The ADC objected on the ground that District 2 in Remedial

Plan 3 is not an opportunity district. Milligan Doc. 305 at 1, 8. But the ADC does

not identify any legal precedent demonstrating that the Special Master’s

performance analysis of District 2 is in any way deficient. See generally id. Nor

could the ADC identify any such precedent in response to direct questioning at the

October 3 Hearing. Oct. 3, 2023 Tr. 45–47. More fundamentally, the ADC’s

objection fails because it would have us reject Remedial Plan 3 on the ground that it

fails to guarantee victory for the Black-preferred candidate in District 2. The ADC’s

objection makes clear that the ADC objects to any plan that does not contain two

majority-Black districts, because white voters could theoretically still retain an

“effective veto” over Black voters’ choices. See Milligan Doc. 305 at 7-8 & n.2. But

Section Two ensures only equal opportunity, not a guaranteed result for any group.

See Dall. Cnty., 850 F.2d at 1438 n.6. Sustaining the ADC’s objection would cause

us to run afoul of controlling precedent and the text of Section Two itself. See 52

U.S.C. § 10301(b) (“[N]othing in this section establishes a right to have members of

a protected class elected in numbers equal to their proportion in the population.”).

      The Secretary and the Legislators object generally to all the Special Master’s

Remedial Plans on the ground that the Special Master allowed race to predominate

over traditional districting principles. Milligan Doc. 301 at 2–3. In essence, this is

the same argument that we and the Supreme Court have rejected at each successive
                                      43
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 44 of 49




stage of this litigation — that any map that fails to “meet or beat” the 2023 Plan on

traditional districting criteria favored by the State necessarily allows race to

predominate in its creation. See Milligan Doc. 272 at 147–150. We reject that

argument again for the same reasons we set forth in our second injunction. See id.;

see also supra at 19–20 (explaining that Mr. Ely did not display race data while

drawing districts or examining proposed plans).

       Finally, Mr. Hillyer objects to Remedial Plan 3 on the ground that it splits

Mobile County. Redistricting Doc. 48 at 1. But as we previously explained, splitting

the Gulf Coast is necessary to remedy the vote dilution we identified. Milligan Doc.

272 at 166. Mr. Hillyer has not produced or pointed us to any plan that fully

remediates the likely Section Two violation without doing so, while also complying

with the Constitution’s one-person, one-vote requirement. See Milligan Doc. 295 at

34 (explaining that Mr. Hillyer’s proposed plan violates one-person, one-vote

because it contains a maximum population deviation of 1,193 people).

      In the light of the submissions received by the Special Master, the comments

and submissions in response to his Report & Recommendation, and after extensive

analysis, we conclude that Remedial Plan 3 completely remedies the likely Section

Two violation we identified while best preserving the State’s legislative preferences,

as expressed through the 2023 Plan, and otherwise complies with the requirements

of the Constitution and the Voting Rights Act of 1965.
                                        44
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 45 of 49




      C.     The Requirements for Injunctive Relief Are Satisfied.

      We further find that all the requirements for injunctive relief are satisfied for

us to order the Secretary to conduct Alabama’s congressional elections according to

Remedial Plan 3. For all the reasons we discussed in our second preliminary

injunction (which the Secretary no longer appeals), see Milligan Doc. 272, we repeat

our finding that the Plaintiffs are substantially likely to succeed on the merits of their

claims that the 2023 Plan (1) does not completely remedy the likely Section Two

violation that we found and the Supreme Court affirmed in the 2021 Plan (indeed, it

made no effort to do so), and (2) likely violates Section Two because it continues to

dilute the votes of Black Alabamians.

      We further find that the Plaintiffs will suffer irreparable harm if they must

vote in the 2024 elections based on a likely unlawful redistricting plan. “Courts

routinely deem restrictions on fundamental voting rights irreparable injury. And

discriminatory voting procedures in particular are the kind of serious violation of the

Constitution and the Voting Rights Act for which courts have granted immediate

relief.” League of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247 (4th

Cir. 2014) (internal quotation marks omitted) (citing Obama for Am. v. Husted, 697

F.3d 423, 436 (6th Cir. 2012); Alternative Political Parties v. Hooks, 121 F.3d 876

(3d Cir. 1997); and Williams v. Salerno, 792 F.2d 323, 326 (2d Cir. 1986)) (quoting

United States v. City of Cambridge, 799 F.2d 137, 140 (4th Cir. 1986)).
                                        45
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 46 of 49




      “Voting is the beating heart of democracy,” and a “fundamental political right,

because it is preservative of all rights.” Democratic Exec. Comm. of Fla., 915 F.3d

at 1315 (internal quotation marks omitted) (alterations accepted). And “once the

election occurs, there can be no do-over and no redress” for voters whose rights were

violated and whose votes were diluted. League of Women Voters of N.C., 769 F.3d

at 247. The Plaintiffs already suffered this irreparable injury once in this census

cycle, when they voted in 2022 under the unlawful 2021 Plan. Accordingly, we find

that the Plaintiffs will suffer an irreparable harm absent injunctive relief.

      We also find that the entry of a preliminary injunction is decidedly in the

public interest. We have enjoined the 2023 Plan as likely unlawful, and Alabama’s

public interest is in the conduct of lawful elections. Accordingly, an affirmative

injunction ordering the State to use a plan that we have imposed to remedy the vote

dilution we found is in the public interest.

      The timing of our Order does not weaken our finding. In Upham, the Supreme

Court explained that when it has “authorized District Courts to order or to permit

elections to be held pursuant to apportionment plans that do not in all respects

measure up to the legal requirements,” “[n]ecessity has been the motivating factor.”

456 U.S. at 44 (internal citations omitted). Alabama’s next general congressional

election is more than thirteen months away. The qualifying deadline to participate

in the primary elections for the major political parties is approximately one month
                                        46
      Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 47 of 49




away. Ala. Code § 17-13-5(a). Considering the exigencies of time, we have

conducted remedial proceedings on precisely the schedule the parties proposed, and

we issue this Order in time for the “early October” deadline by which the Secretary

of State told us he needs a final electoral map. See Milligan Doc. 147 at 3; Milligan

Doc. 162 at 7.

      Finally, we find — as we must, to issue an affirmative injunction — that this

case presents a “rare instance[] in which the facts and law are clearly in favor of the

moving party.” Exhibitors Poster Exch., Inc., 441 F.2d at 561 (quoting Miami Beach

Fed. Sav. & Loan Ass’n, 256 F.2d at 415). We have the benefit of four extensive

evidentiary records (the Milligan and Caster records in connection with both

injunctions); numerous hearings (including a preliminary injunction hearing that was

longer than many bench trials); an interlocutory affirmance (in all respects) by the

Supreme Court; and able assistance from the dozens of lawyers who have appeared

for the parties and their amici in this litigation. Indeed, we thank able counsel for

their expeditious work to prepare these robust records, particularly on the tight

timeframe that this litigation demanded. In the plainest terms, we have no doubt that

the facts and the law support the entry of this preliminary injunction.

      Accordingly, the Alabama Secretary of State is ORDERED to administer

Alabama’s upcoming congressional elections according to the Special Master’s

Remedial Plan 3, which is appended to this order as Appendix A.
                                       47
Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 48 of 49




DONE and ORDERED this 5th day of October, 2023.




                          STANLEY MARCUS
                          UNITED STATES CIRCUIT JUDGE



                          _________________________________
                          ANNA M. MANASCO
                          UNITED STATES DISTRICT JUDGE




                              48
Case 2:21-cv-01530-AMM Document 311 Filed 10/05/23 Page 49 of 49




                       APPENDIX A




                              49
